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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:05CR106
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
MARIANO CORDERO-JUAREZ,                           )
                                                  )
                     Defendant.                   )


       This matter is before the court on the motion of defendant Mariano Cordero-Juarez
(Cordero-Juarez) to dismiss the Indictment (Filing No. 49 - Sealed). A hearing before the
undersigned magistrate judge on the motion to determine the defendant’s age will commence
at 2:00 p.m. on May 23, 2005, in Courtroom No. 7, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The defendant must be present for
the hearing.
       At the hearing the initial burden of proving the defendant’s age will fall on the
government which must offer prima facie evidence of defendant’s adult status.         If the
government satisfies this burden, defendant must then come forward with evidence of his
juvenile status. If the defendant comes forward with such evidence, the government will have
an opportunity to rebut with additional information. After receiving such evidence, the court
will determine from the preponderance of the evidence the date on which the defendant was
born. Thereafter, the undersigned magistrate judge will provide a report and recommendation
to Chief Judge Bataillon. See United States v. Salgado-Ocampo, 50 F.Supp 2d 908 (D.
Minn. 1999). See also: United States v. Ceja-Prado, 333 F.3d 1046 (9th Cir. 2003); United
States v. Garcia Flores, 925 F.2d 1471 (9th Cir. 1991); United States v. Alvarez-Porras,
643 F.2d 54, 66-67 (2nd Cir.), cert. denied, 454 U.S. 839 (1981).
       IT IS SO ORDERED.
       DATED this 4th day of May, 2005.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
